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                 UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT
                         CASE NO. 24-5511


HONORABLE ORDER OF KENTUCKY COLONELS, INC.

                       Plaintiff-Appellee
v.

KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
FOUNDATION, INC.; UNKNOWN DEFENDANTS

                       Defendants

DAVID J. WRIGHT

                       Defendant-Appellant


     APPELLEE’S MOTION TO STRIKE MOTION FOR LEAVE TO
           PROCEED ON APPEAL IN FORMA PAUPERIS
     AND REQUEST FOR COURT APPOINTED COUNSEL (DOC. 24)

        Plaintiff-Appellee, The Honorable Order of Kentucky Colonels, Inc.

(“HOKC”), by counsel, hereby moves the Court to strike the Motion for Leave

to Proceed on Appeal in Forma Pauperis and Request for Court Appointed

Counsel (Doc. 24) (the “Motion”) improperly filed by Defendant David J.

Wright, purportedly on behalf of Defendants Ecology Crossroads Cooperative

Foundation, Inc. and its subsidiary Globcal International (hereinafter

collectively the “Corporate Defendants”). The Motion is not properly before

this Court. Wright is not a lawyer. As the District Court repeatedly advised
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Wright, he may not tender filings or appear on behalf of the Corporate

Defendants because he is not licensed to practice law.1 As he does now,

Wright repeatedly ignored the District Court’s orders, filing numerous

pleadings purportedly on behalf of the Corporate Defendants only to have

those pleadings stricken from the record. 2 The Motion is just another attempt

to circumvent the fact that Wright is not an attorney and the Corporate

Defendants remain unrepresented. Such gamesmanship and utter disregard

for the District Court’s prior rulings should not be countenanced.

      For the foregoing reasons, HOKC respectfully requests that the Motion

(Doc. 24) be stricken from the record.




1
  As expressly recognized by the United States Supreme Court, “[i]t has been
the law for the better part of two centuries … that a corporation may appear
in the federal courts only through licensed counsel.” Rowland v. California
Mens Colony, 506 U.S. 194, 202-03 (1993) (emphasis added) (citing cases
dating from 1824 forward holding that a corporation may only be represented
by licensed counsel).
2
  This is at least the fifth time that Wright has improperly attempted to file
pleadings on behalf of the Corporate Defendants. [See 5/21/20 Motion to
Dismiss [DE 37]; 6/17/20 Motion to Drop Defendants [DE 51]; 11/30/23
Motion to Strike & Objection Response to Plaintiff’s Motion for Entry of
Default Judgment [DE 140]; Notice of Appeal [DE 151]; and Motion for
Waiver of Filing Fees [DE 152]]. On each occasion, the District Court
ordered Wright’s filing to be stricken from the record. [See 6/3/20 Order [DE
46]; 8/13/20 Order [DE 58]; 4/22/24 Memorandum Opinion & Order [DE
149]; and 6/11/24 Order [DE 156]].


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                                       Respectfully submitted,

                                       /s/ Cornelius E. Coryell II
                                       Cornelius E. Coryell II
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                                       Counsel for Plaintiff/Appellee, the
                                       Honorable Order of Kentucky
                                       Colonels, Inc.


                       CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing has been
served upon the following, by U.S. mail and/or electronic mail, on this the 27th
day of June, 2024:

 David J. Wright
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                                       /s/ Cornelius E. Coryell II

                                       Counsel for Plaintiff/Appellee the
                                       Honorable Order of Kentucky
                                       Colonels, Inc.
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